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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

 K. C., et al.,                                        )
                                                       )
                                Plaintiffs,            )
                                                       )
                           v.                          )       No. 1:23-cv-00595-JPH-KMB
                                                       )
 THE INDIVIDUAL MEMBERS OF THE                         )
 MEDICAL LICENSING BOARD OF INDIANA                    )
 in their official capacities, et al.,                 )
                                                       )
                                Defendants.            )
                                                       )

                       ORDER SETTING DISCOVERY CONFERENCE

         At the request of the counsel who jointly contacted the undersigned's chambers, the Court

 sets this case for a Telephonic Discovery Conference on October 2, 2023, at 11:00 a.m.

 (Eastern), with Magistrate Judge Kellie M. Barr. Counsel shall attend the conference by calling

 877-402-9753, access code 4693226.

         To assist the Court in preparing for the conference, counsel for any interested parties and

 non-parties are ORDERED to file no later than 12:00 p.m. (Eastern) on Friday, September 29,

 2023, a joint submission that (1) briefly describes the nature of the matters in dispute in no more

 than three pages and without argument, and (2) to the extent written discovery responses are in

 dispute, includes as an exhibit only the specific responses at issue.

         So ORDERED.
         Date: 9/27/2023




 Distribution:

 All ECF-registered counsel of record
